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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 KENNETH BALL,                                )
                                              )
                      Plaintiff,              )
                                              )
 vs.                                          )   Case No. 17-CV-150-NJR-SCW
                                              )
 SPECIFIED CREDIT ASSOCIATION 1,              )
 INC.,                                        )
                                              )
                      Defendant.              )


                        JUDGMENT IN A CIVIL ACTION

 DECISION BY THE COURT.

       IT IS ORDERED AND ADJUDGED that pursuant to the Order dated May 10,

 2017 (reflecting the settlement between plaintiff and defendant) and the Stipulation of

 Dismissal filed May 25, 2017 by the parties (indicating that the case should be dismissed

 with prejudice), the action is DISMISSED with prejudice.

       DATED: May 26, 2017


                                                  JUSTINE FLANAGAN, Acting Clerk

                                                  By: s/_Deana Brinkley_____________
                                                    Deputy Clerk

 APPROVED: s/ Nancy J. Rosenstengel_______
          NANCY J. ROSENSTENGEL
          United States District Judge
